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                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                            May 18, 2022


       No.:             22-15755
       D.C. No.:        2:22-cv-00444-DJH
       Short Title:     Thomas Short v. David Berger, et al


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       Preliminary Injunction Appeal. Circuit Rule 3-3.

       Briefing schedule will be set by future court order.
